                 Case 3:20-cv-03345-WHO                       Document 74          Filed 10/26/20           Page 1 of 31



             1   Pavel I. Pogodin, Ph.D., Esq. (SBN 206441)
                 CONSENSUS LAW
             2   5245 Ave Isla Verde
             3   Suite 302
                 Carolina, PR 00979
             4   United States of America
                 Telephone: (650) 469-3750
             5   Facsimile: (650) 472-8961
                 Email: pp@consensuslaw.io
             6
             7   Attorneys for Plaintiffs BMA LLC,
                 Yaroslav Kolchin and Vitaly Dubinin
             8
             9                                         UNITED STATES DISTRICT COURT

           10                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

           11                                                 SAN FRANCISCO DIVISION

           12
           13    BMA LLC, Yaroslav Kolchin and Vitaly                              Case No. 3:20-cv-3345-WHO
                 Dubinin,
           14
                                                                                   PLAINTIFFS’ OPPOSITION TO
           15                             Plaintiffs,                              DEFENDANTS’ MOTION TO DISMISS

           16
                                  v.                                               Hon. William H. Orrick
           17                                                                      Date: December 16, 2020
                                                                                   Time: 2:00 PM
           18    HDR Global Trading Limited (A.K.A.                                Crtrm.: 2, 17th Floor
                 BitMEX), ABS Global Trading Limited,
           19    Arthur Hayes, Ben Delo and Samuel Reed,
                                                                                   Discovery Cutoff: None Set
           20                                                                      Pretrial Conference Date: None Set
                                          Defendants.                              Trial Date: None Set
           21
           22
           23
           24
           25
           26
           27
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS           PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   -i-    BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                           Document 74                Filed 10/26/20               Page 2 of 31



             1
                                                                      TABLE OF CONTENTS
             2
             3
                 Plaintiff BMA .................................................................................................................................. 1
             4
             5   Procedural Background .................................................................................................................... 1

             6
                 Statement Of The Relevant Facts..................................................................................................... 2
             7
                 The Leaderboard Fiasco And Hasty “User Verification Programme”............................................. 6
             8
             9   Defendant Reed’s Perjury At CFTC Deposition And Mr. Hibbard’s Untruthful Statements To
           10    Courts With Respect To The Same Facts ........................................................................................ 7
           11
                 Defendants’ Motions to Dismiss And Stay Are Laced With Untruthful Statements....................... 8
           12
           13    Defendants’ CEA Extraterritoriality Arguments Are Baseless...................................................... 12
           14
                 Defendants’ RICO Extraterritoriality Arguments Are Equally Groundless .................................. 14
           15
           16    Defendants’ Lack Of Standing Arguments Are Similarly Groundless .......................................... 16

           17    SAC Satisfies Heightened Pleading Standard Under Rule 9(b) Where It Applies ........................ 22
           18
                 Defendants’ Lumping Argument Is Laughable ............................................................................. 24
           19
           20    SAC Adequately Alleges Two RICO Predicate Offenses For Each RICO Defendant.................. 24
           21
                 Defendants’ Remaining Arguments Are Equally Meritless .......................................................... 25
           22
           23    Conclusion ..................................................................................................................................... 25

           24
           25
           26
           27
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS               PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.     - ii -        BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                           Document 74                 Filed 10/26/20                Page 3 of 31



             1                                                     TABLE OF AUTHORITIES
             2
                 CASES
             3
             4   Alan Neuman Prods., Inc. v. Albright, 862 F.2d 1388 (9th Cir. 1988) .......................................... 26
             5
                 Anderson News, LLC v. American Media, Inc., 680 F. 3d 162 (2d Cir. 2012) .............................. 23
             6
                 ATSI Commc'ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87 (2d Cir. 2007) ......................................... 25
             7
                 Commodity Futures Trading Com'n v. McDonnell, 287 F.Supp.3d 213 (E.D.N.Y. 2018)............ 28
             8
                 Dennis v. JPMorgan Chase & Co., 343 F. Supp.3d 122 (S.D.N.Y. Nov 26, 2018) ................ 20, 22
             9
           10    Foman v. Davis, 371 U.S. 178, 182 (1962) ................................................................................... 28

           11    In re Foreign Exch. Benchmark Rates Antitrust Litig., 74 F.Supp.3d 581 (S.D.N.Y. 2015) ........ 21
           12    In re London Silver Fixing, Ltd., Antitrust Litig. No. 14-MD-2573 (VEC), 213 F.Supp.3d 530,
           13
                    (S.D.N.Y. Oct. 3, 2016) ....................................................................................................... 22, 25
           14
                 In re Nat. Gas Commodity Litig., 358 F. Supp. 2d 336 (S.D.N.Y. 2005) ...................................... 25
           15
                 In re Toyota Motor Corp., 785 F. Supp. 2d 883 (C.D. Cal. 2011) .......................................... 26, 27
           16
           17    Internet Law Library, Inc. v. Southridge Capital Mgmt., LLC, 223 F. Supp. 2d 474 (S.D.N.Y.

           18       2002) .......................................................................................................................................... 25

           19    Kraft Foods Grp., Inc., 153 F. Supp. 3d 996 (N.D. Ill. 2015) ....................................................... 24
           20    Lancaster Cmty. Hosp. v. Antelope Valley Hosp. Dist., 940 F.2d 397 (9th Cir. 1991) ................. 26
           21
                 Laydon v. Mizuho Bank, Ltd., No. 12 Civ. 3419 (GBD), 2020 WL 5077186 (S.D.N.Y. Aug. 27,
           22
                    2020) .......................................................................................................................................... 14
           23
                 Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992)............................................................... 19, 24
           24
           25    Robins v. Spokeo, Inc., 867 F.3d 1108 (2017) ............................................................................... 19

           26    Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016) ............................................................................. 19

           27    Sullivan v. Barclays PLC, 13-cv-2811 (PKC) 2017 WL 685570 (S.D.N.Y. Feb 21, 2017).... 20, 25
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS              PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.      - iii -        BMA LLC ET AL. V. HDR ET AL.     CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                           Document 74                Filed 10/26/20               Page 4 of 31



             1   Wash. Envtl. Council v. Belton, 732 F.3d 1131 (9th Cir. 2013) .................................................... 23
             2   United States v. Faiella, 39 F. Supp. 3d 544 (S.D.N.Y. 2014) ......................................................... 5
             3
                 United States v. Klein, 6:17-cr-03056 (W.D.Mo. 2017) .................................................................. 5
             4
             5
                 STATUTES
             6
             7   18 U.S.C. § 1343 ...................................................................................................................... 16, 24

             8   18 U.S.C. § 1952 ............................................................................................................................ 24
             9   18 U.S.C. § 1956 ................................................................................................................ 4, 5, 6, 16
           10
                 18 U.S.C. § 1956(a) ................................................................................................................. 11, 24
           11
                 18 U.S.C. § 1957 .......................................................................................................... 4, 5, 6, 11, 16
           12
                 18 U.S.C. § 1957(a) ....................................................................................................................... 24
           13
           14    18 U.S.C. § 1960 ............................................................................................................................ 16

           15    18 U.S.C. § 1960(a) ................................................................................................... 5, 6, 10, 11, 24

           16    18 U.S.C. § 2314 ................................................................................................................ 11, 16, 24
           17
                 18 U.S.C. §§ 1962(c) ....................................................................................................................... 1
           18
                 18 U.S.C. §§ 1962(d) ....................................................................................................................... 1
           19
                 31 U.S.C. §§ 5311 et seq. ................................................................................................................. 1
           20
                 7 U.S.C § 1a(47)(a)(IV), ................................................................................................................ 16
           21
           22    7 U.S.C. § 13 .................................................................................................................................. 25

           23    7 U.S.C. § 25(a)(1)(D), .................................................................................................................. 16
           24    7 U.S.C. § 25 .................................................................................................................................. 10
           25
                 7 U.S.C. § 9 .................................................................................................................................... 10
           26
                 7 U.S.C. § 9(1) ............................................................................................................................... 25
           27
                 7 U.S.C. §§ 1 et seq. ......................................................................................................................... 1
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS               PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.     - iv -         BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                           Document 74               Filed 10/26/20               Page 5 of 31



             1   RULES
             2
                 Fed. R. Civ. P. 11 ............................................................................................................................. 9
             3
                 Fed. R. Civ. P. 12(b)(6) ................................................................................................................ 1, 8
             4
             5   Fed. R. Civ. P. 9(b) ............................................................................................................ 22, 23, 24

             6
                 REGULATIONS
             7
             8   Regulation 180.1 ............................................................................................................................ 23

             9   Regulation 180.2 ............................................................................................................................ 23

           10
                 CONSTITUTIONAL PROVISIONS
           11
           12    U.S. Constitution, Art. III, § 2 ....................................................................................................... 18
           13
           14
           15
           16
           17
           18
           19
           20

           21
           22
           23
           24
           25
           26
           27
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS               PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.    -v-           BMA LLC ET AL. V. HDR ET AL.    CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                        Document 74          Filed 10/26/20          Page 6 of 31



             1
                                                                            Plaintiff BMA
             2
                         At the outset, early on in the case, Plaintiffs’ counsel offered Defendants’ attorney Mr.
             3
                 Hibbard to provide full information on the ownership and membership of Plaintiff BMA in
             4
                 exchange for the ownership information of Defendant HDR. Mr. Hibbard, of course, flatly
             5
                 refused and is now crying crocodile tears to the Court about his perceived lack of transparency in
             6
                 Plaintiff BMA in his every paper, Ex. A. He could have also easily served just one discovery
             7
                 request and received this information months ago. This is what discovery is for. Yet, he failed to
             8
                 take any of these trivial steps and now tries to score points with the Court using his own lapse of
             9
                 diligence. Therefore, his disingenuous quibbles about Plaintiff BMA must be summarily rejected.
           10
                                                                    Procedural Background
           11
                         Plaintiffs filed the original Complaint, Dkt. No. 1, on May 16, 2020, alleging that
           12
                 Defendants engaged in racketeering in violation of 18 U.S.C. §§ 1962(d) and (c) (“RICO”) and
           13
                 cryptocurrency market manipulation in violation of the Commodity Exchange Act (“CEA”), 7
           14
                 U.S.C. §§ 1 et seq., as well as state causes of action. Two days later, on May 18, 2020 Plaintiff
           15
                 filed an Amended Complaint, Dkt. No. 6, with minor corrections of typographical errors and no
           16
                 substantive changes. On July 14, 2020, parties stipulated to waiver of service of process, filing of
           17
                 a Second Amended Complaint (“SAC”) and set a briefing schedule. Court has granted this
           18
                 stipulation, Dkt. No. 31, and Plaintiffs filed the SAC on July 14, 2020, Dkt. No. 32. Defendants
           19
                 filed their Motion to Dismiss under Fed. R. Civ. P. 12(b)(6) on September 14, 2020, Dkt. No. 42.
           20
                 Plaintiffs filed a Motion for Leave to File Third Amended Complaint (“TAC”, Dkt. No. 45) on
           21
                 October 8, 2020, which is set for hearing on November 10, 2020 before Judge Orrick, Dkt. No.
           22
                 46, overcoming all of Defendants’ arguments raised in their Motion to Dismiss.
           23
                         On October 1, 2020, Defendants Hayes, Delo and Reed were indicted by the U.S.
           24
                 Department of Justice (“DOJ”) on felony charges of violating the Bank Secrecy Act (“BSA”), 31
           25
                 U.S.C. §§ 5311 et seq., by willfully evading U.S. anti-money laundering (“AML”) requirements,
           26
                 Ex. B. On the same day, the Commodity Futures Trading Commission (“CFTC”) filed a civil
           27
                 enforcement action in the U.S. District Court for the Southern District of New York charging
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   -1-   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                        Document 74          Filed 10/26/20          Page 7 of 31



             1
                 Defendants HDR, ABS, Hayes, Delo and Reed with operating an unregistered exchange and
             2
                 violating multiple CFTC Regulations, including failing to implement AML procedures, Ex. C.
             3
                         In announcing the DOJ Indictment, Ex. B, Acting Manhattan U.S. Attorney Audrey
             4
                 Strauss said:
             5
                         With the opportunities and advantages of operating a financial institution in the United
             6           States comes the obligation for those businesses to do their part to help in driving out
                         crime and corruption. As alleged, these defendants flouted that obligation and undertook
             7           to operate a purportedly ‘off-shore’ crypto exchange while willfully failing to implement
                         and maintain even basic anti-money laundering policies. In so doing, they allegedly
             8           allowed BitMEX to operate as a platform in the shadows of the financial markets.
             9           Today’s indictment is another push by this Office and our partners at the FBI to bring
                         platforms for money laundering into the light.
           10    FBI Assistant Director William F. Sweeney Jr. further stated:
           11            As we allege here today, the four defendants, through their company’s BitMEX crypto-
                         currency trading platform, willfully violated the Bank Secrecy Act by evading U.S. anti-
           12
                         money laundering requirements. One defendant went as far as to brag the company
           13            incorporated in a jurisdiction outside the U.S. because bribing regulators in that
                         jurisdiction cost just ‘a coconut.’ Thanks to the diligent work of our agents, analysts, and
           14            partners with the CFTC, they will soon learn the price of their alleged crimes will not be
                         paid with tropical fruit, but rather could result in fines, restitution, and federal prison time.
           15
                         Defendant Reed was apprehended by the FBI in Boston, Massachusetts. Defendants
           16
                 Hayes and Delo remain at large and are currently fugitives wanted by the U.S. Government.
           17
                                                             Statement Of The Relevant Facts
           18
                         The key facts of this case are rather simple and easy to understand. In 2014, Defendants
           19
                 launched a bitcoin derivatives trading platform called BitMEX, which enables traders to place
           20
                 bets on direction of cryptocurrency prices, SAC ¶¶ 117, 118. In designing their platform,
           21
                 Defendants decided to sidestep any financial controls mandated by the traditional banking system
           22
                 by transacting only in bitcoin and refused to implement any know your customer (“KYC”) or
           23
                 AML checks what so ever, SAC ¶ 215, Ex. 1. In other words, Defendants would open account
           24
                 and accept unlimited funds from anyone, without a single question asked. SAC ¶¶ 211-213, Ex. 1.
           25
                         In fact, one can open an account, deposit unlimited funds and start trading without
           26
                 furnishing a single document, all is required is a user name and email address, which are not
           27
                 verified by BitMEX in any way. SAC ¶¶ 211-213. The entire registration and funding process
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   -2-   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                        Document 74          Filed 10/26/20          Page 8 of 31



             1
                 takes about 10 minutes and no documents are even looked at. Understandably, because of total
             2
                 lack of controls of any kind, hackers, tax evaders, money launderers, smugglers, drug dealers all
             3
                 flocked to BitMEX flooding the platform with hot money, SAC Ex. 1. A recent and very telling
             4
                 example is the infamous Twitter hacker, who turned out to be a BitMEX trader, Ex. D.1
             5
                         But Defendants’ wrongdoing does not stop there. Having a large pool of hot money at
             6
                 their disposal, Defendants designed the internal workings of their trading platform to enable,
             7
                 encourage and benefit from money laundering and market manipulation, SAC ¶ 1. It all has to do
             8
                 with anonymity, lack of trading limits, high leverage and how the index price for bitcoin
             9
                 derivatives is calculated. Defendants deliberately designed this index price to be based on
           10
                 bitcoin spot price on two or three illiquid bitcoin spot exchanges, SAC ¶¶ 109, 119. Illiquid in
           11
                 this context means that, to precipitously move bitcoin price on those exchanges, relatively small
           12
                 market orders will suffice. Therefore, a relatively small market order on a spot exchange results
           13
                 in a relatively large bitcoin index price move on the very liquid BitMEX, SAC ¶¶ 109, 119, 214.
           14
                         A money launderer would open two exchange accounts – a helper account on one or more
           15
                 exchanges used by BitMEX to calculate its index price (Coinbase Pro, Kraken and BitStamp) and
           16
                 a winner account on BitMEX, SAC ¶ 110, 111, 119, 214. The money launderer would then enter
           17
                 into a large leveraged derivatives position on BitMEX and immediately execute market orders
           18
                 from the helper account with maximum slippage to move the index price in a favorable direction,
           19
                 SAC ¶ 119, 214, Ex. 2, 3. Due to disparity in liquidity between BitMEX and the spot exchanges,
           20
                 the aforesaid deliberate design of the index price by Defendants, and the cascading liquidations of
           21
                 leveraged trader positions on BitMEX, the amount spent from the helper account is multiplied
           22
                 greatly and translates into outsized profit in the winner account on BitMEX, SAC ¶¶ 203, 214,
           23
                 Ex. 2, 3. Because BitMEX accounts are by design anonymous, the laundered money cannot be
           24
                 traced from the helper account to the winner account, SAC ¶¶ 3, 184, 215. Thus, the money
           25
                 laundering proceeds in the winner account on BitMEX appear as legitimate trading gains and the
           26
                 1
           27     In reality, BitMEX is a California enterprise, having most of its employees in California and
                 doing hundreds of billions of dollars of business in the U.S. with U.S. traders, which uses a sham
           28    offshore shell company HDR Global Trading Limited to dodge U.S. laws and regulations.
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   -3-   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                        Document 74          Filed 10/26/20          Page 9 of 31



             1
                 money laundering scheme achieves its purpose, SAC ¶ 214. The described money laundering and
             2
                 other nefarious acts are well documented and take place on BitMEX almost daily, SAC ¶¶ 226,
             3
                 261, 184, Ex. 2, 3. Moreover, to exacerbate the price manipulations, BitMEX intentionally locks
             4
                 users out of their accounts during manipulation times and accepts trading orders only on one side
             5
                 of the market, falsely telling the users that their “system is overloaded,” SAC ¶¶ 122, 185.
             6
                         BitMEX directly participates in and financially benefits from this illegal activity through
             7
                 its internal trading desk, which orchestrates execution of the market orders from the helper
             8
                 accounts and indirectly, by collecting increased trading fees and also by liquidating users’
             9
                 accounts SAC ¶ 4. Specifically, BitMEX knowingly collects high trading fees for the above
           10
                 money laundering transactions, which constitute “proceeds” of money laundering under 18
           11
                 U.S.C. §§ 1956 and 1957 and which are deposited into its general account (bitcoin wallet), from
           12
           13
           14
           15
           16
           17
           18
           19
           20

           21
           22
           23
           24
           25
           26    which it pays all its employees and even its attorneys (after currency conversion). Thus, the

           27    salaries of all BitMEX employees as well as legal fees paid to its lawyers are tainted with the

           28    proceeds of money laundering in violation of 18 U.S.C. §§ 1956 and 1957, SAC ¶ 214, 229.
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   -4-   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74           Filed 10/26/20          Page 10 of 31



             1
                         In the described money laundering scheme, the market manipulation gains realized by the
             2
                 launderer in the winner account and the funds confiscated by BitMEX as the result of liquidations
             3
                 induced by the launderer are generated at the expense of Plaintiffs and other cryptocurrency
             4
                 traders like Plaintiffs, who traded on BitMEX itself as well as on Kraken exchange, which
             5
                 Defendants used to manipulate cryptocurrency prices, SAC ¶¶ 125, 214. Notably, BitMEX
             6
                 deposits proceeds from the user account liquidations into its so called “Insurance Fund,” which
             7
                 has steadily grown over the years and now amounts to over $427,000,000 dollars, all
             8
                 misappropriated from traders, including Plaintiffs, SAC ¶¶ 145-149.
             9
                         Moreover, BitMEX has been recently caught red-handed doing at least $70,000,000 of
           10
                 business in New York and California without obtaining a money transmitting license in those
           11
                 states and without complying with FinCEN regulations, in violation of 18 U.S.C. § 1960(a). This
           12
                 violation has been conclusively proven using BitMEX’s own public Leaderboard, and without the
           13
                 benefit of discovery, which Defendants stonewalled, Ex. E. Even Defendants themselves
           14
                 acknowledged this fact by hastily instituting a “User Verification Programme” less than 48 hours
           15
                 after being caught doing unlicensed business in the United States, Ex. F. In total, BitMEX has 65
           16
                 individual and 14 institutional United States traders that Plaintiffs are aware of, without having
           17
                 any benefit of discovery, SAC ¶¶ 67-73. The amount of $70,000,000 of unlicensed United States
           18
                 business exceeds any possible threshold for the obligation to obtain the money transmitting
           19
                 license under 18 U.S.C. § 1960(a). Specifically, in United States v. Faiella, 39 F. Supp. 3d 544
           20
                 (S.D.N.Y. 2014), the threshold for triggering 18 U.S.C. § 1960(a) liability was $1,000,000 in
           21
                 unlicensed bitcoin transmissions. In United States v. Klein, 6:17-cr-03056 (W.D.Mo. 2017), the
           22
                 threshold for 18 U.S.C. § 1960(a) liability was less than $30,000 in unlicensed bitcoin
           23
                 transmissions. Based on these cases, Defendants have exceeded the legal threshold for triggering
           24
                 18 U.S.C. § 1960(a) liability by a factor of 2,333x (two thousand three hundred thirty three
           25
                 times). Consequently, all the funds that BitMEX collected from its trading operations and
           26
                 deposited into its general account (bitcoin wallet) are proceeds of unlicensed money transmitting
           27
                 business in violation of 18 U.S.C. § 1960(a) (in addition to being proceeds of money laundering
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   -5-    BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74           Filed 10/26/20          Page 11 of 31



             1
                 in violation of 18 U.S.C. §§ 1956 and 1957, as explained above).
             2
                         Awash with large amounts of tainted cash and encouraged by perceived lack of any
             3
                 accountability, Defendants grew so brazen that they do not even hesitate to publicly admit to
             4
                 bribery and bank fraud, SAC ¶¶ 11, 13. Despite the fact that the vast majority of Defendants’
             5
                 personnel and managers are located in this District, to avoid being subject to U.S. laws,
             6
                 regulations and taxes, Defendants established 12 false shell companies, including Defendant
             7
                 ABS, with intent to create an appearance that Defendant HDR has no presence, operations or
             8
                 investors in regulated jurisdictions such as the United States, SAC ¶¶ 12, 24.
             9
                         The sheer magnitude of Defendants’ unlawful activity is truly staggering. In addition to
           10
                 being recently caught red-handed doing at least $70,000,000 of business in New York and
           11
                 California without obtaining a money transmitting license, which by itself conclusively
           12
                 establishes the violation of 18 U.S.C. § 1960(a) by Defendants, “[s]everal sources close to the
           13
                 company” have disclosed to media sources that nearly 15 percent of the BitMEX’s 2019 trading
           14
                 volume—or about $138 billion worth—is attributable to traders located in the United States, SAC
           15
                 ¶ 2. Accordingly, Defendants were unquestionably on notice of the need to obtain a money
           16
                 transmission license in the United States and to comply with mandatory FinCEN regulations,
           17
                 which Defendants willfully and deliberately failed to do. Therefore, according to Defendants’
           18
                 own data, Defendants’ unlicensed money transmitting business admittedly processed, on average,
           19
                 $3 billion of illegal and unlicensed money transfers each day, all in violation of 18 U.S.C. §
           20
                 1960(a), which is the record volume for such unlawful activity in the entire history of the
           21
                 monetary regulation in the United States, SAC ¶ 2.
           22
                                The Leaderboard Fiasco And Hasty “User Verification Programme”
           23
                         Defendants’ initial strategy to deal with a mounting number of civil cases against them in
           24
                 the United States was to argue to Courts that Defendants were not subject to personal jurisdiction
           25
                 in this country due to a lack of minimum contacts with the U.S. and, specifically, due to “U.S.
           26
                 persons [being] expressly prohibited from trading on BitMEX platform.”
           27
                         That defense strategy spectacularly imploded when, in early August, Plaintiff’s counsel
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   -6-    BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74           Filed 10/26/20          Page 12 of 31



             1
                 Pavel Pogodin stumbled upon Defendants’ Leaderboard
             2
                 (https://www.bitmex.com/app/leaderboard, Ex. E) and discovered that, contrary to Defendants’
             3
                 denials, among top three Leaderboard traders, who meaningfully revealed their real names, all
             4
                 three turned out to be United States persons, generating over $70,000,000 in trading profits on
             5
                 Defendants’ BitMEX platform. Plaintiffs’ attorney put this stunning discovery into a CMC
             6
                 statement filed on August 11, 2020, Dkt. No. 33, which caused an angry response from
             7
                 Defendants’ counsel. Defendants’ counsel first demanded that Plaintiffs remove this very
             8
                 damaging information from the CMC statement using a CMC statement page limit as an excuse.
             9
                 After receiving a negative response, Defendants’ counsel bitterly refused to file Plaintiffs’
           10
                 exhibits to the CMC statement. Moreover, in a phone call, which took place shortly thereafter,
           11
                 conspicuously shaken Mr. Hibbard uncontrollably screamed at Plaintiffs’ counsel in a grossly
           12
                 unprofessional manner, shouting over the phone “shut your mouth.”
           13
                         After Defendants and their counsel finally came to their senses and realized that the
           14
                 jurisdictional genie was out of the bottle and their plot to mislead U.S. Courts has been exposed,
           15
                 they hastily waived jurisdictional challenges in three United States civil cases against them and
           16
                 instituted a “User Verification Programme”2, designed to create an appearance that Defendants
           17
                 somehow did not know before that most of their leaderboard was filled with U.S. traders,3
           18
                  Defendant Reed’s Perjury At CFTC Deposition And Mr. Hibbard’s Untruthful Statements
           19                           To Courts With Respect To The Same Facts
           20            As stated above, Defendants’ strategy (or, more accurately, plot) to deal with civil
           21    litigation against them in the U.S. was to falsely claim to Courts that, despite having more that
           22    85,000 trader accounts with the U.S. nexus4, Defendants were not subject to personal jurisdiction
           23    in this country due to a lack of minimum contacts with the U.S. In furtherance of this plot to
           24
                 2
                   BitMEX operated for more than 5 years without any user verification what so ever. The “User
           25    Verification Programme” was instituted less than 48 hours after Plaintiffs’ counsel put discovered
           26    jurisdictional evidence into CMC statement, Dkt. No. 33.
                 3
                   The “User Verification Programme” was apparently instituted in order to avoid civil and
           27    criminal liability for knowingly operating an unlicensed money transmission business in the U.S.
                 in violation of 18 U.S.C. § 1960(a).
           28    4
                   CFTC Complaint, Ex. C, p. 2-3, ¶ 3.
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   -7-    BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74           Filed 10/26/20          Page 13 of 31



             1
                 defraud U.S. Courts, Defendant Reed went as far as to commit perjury during his 2019 deposition
             2
                 before CFTC, by denying that BitMEX maintained reports identifying U.S. customers on its
             3
                 trading platform, see Indictment, Ex. B, p. 13, ¶ 27. In reality, in December of 2018, Reed
             4
                 received a report showing trading revenue attributable to U.S. customers, see Indictment, Ex. B,
             5
                 p. 13, ¶ 27.
             6
                         Pursuant to the same plot, Defendants’ counsel Mr. Hibbard repeatedly untruthfully told
             7
                 San Francisco Superior Court Judge Schulman that BitMEX serves only non-U.S. traders and,
             8
                 therefore, California Courts lack jurisdiction over it, see Ex. G. Yet again, pursuant to the same
             9
                 plot, Mr. Hibbard untruthfully tells Judge Orrick on page 3 of this very Motion, that “Plaintiffs do
           10
                 not allege that HDR engaged in any conduct in the United States at all.” This is false. In reality,
           11
                 SAC ¶¶ 2, 5, 16, 17, 21, 25, 44, 46, 48, 57, 60, 61, 64, 65, 67, 68, 71, 73-81, 185, 186, 203, 206,
           12
                 207, 303, 326, 344 and 368 allege overwhelming facts of HDR’s extensive conduct in the U.S.
           13
                         All these misrepresentations are parts of the same scheme to mislead U.S. and California
           14
                 Courts, which Defendants and their counsel continue to pursue even today in this very Motion.
           15
                       Defendants’ Motions to Dismiss And Stay Are Laced With Untruthful Statements
           16
                         After Defendants’ jurisdictional defense fiasco due to Plaintiffs’ counsel stumbling upon
           17
                 Defendants’ Leaderboard riddled with United States traders, Mr. Hibbard turned his attention to
           18
                 misleading Judge Orrick into dismissing SAC on a groundless Rule 12(b)(6) motion. To this end,
           19
                 on September 14, 2020, Mr. Hibbard filed a Motion to Dismiss laced with numerous material
           20
                 misrepresentations. [Dkt. No. 42].
           21
                         Being unable to defend this lawsuit on the merits, Mr. Hibbard decided to utilize a tactic
           22
                 of last resort – shamelessly misrepresent allegations of the SAC to Judge Orrick. Below are just
           23
                 three examples of blatant misrepresentations that Mr. Hibbard perpetuated in his Motion to
           24
                 Dismiss. Defendants’ Motion to Stay [Dkt. No. 43], contains substantially similar misstatements.
           25
                 Needless to say, Mr. Hibbard’s conduct shamelessly violates Rule 11.
           26
                         For example, as stated above, on p. 3 of the Motion to Dismiss, Mr. Hibbard represented
           27
                 to Judge Orrick that: “Plaintiffs do not allege that HDR engaged in any conduct in the United
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   -8-    BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74           Filed 10/26/20          Page 14 of 31



             1
                 States at all.” This representation is unquestionably false. In reality, SAC ¶¶ 2, 5, 16, 17, 21, 25,
             2
                 44, 46, 48, 57, 60, 61, 64, 65, 67, 68, 71, 73-81, 185, 186, 203, 206, 207, 303, 326, 344 and 368
             3
                 allege overwhelming facts of HDR’s extensive conduct in the United States. Moreover, the table
             4
                 below summarizing allegations of the SAC clearly shows that all three components of the alleged
             5
                 market manipulation were all perpetrated by HDR in this District and the United States:
             6
                 Manipulation     Manipulative Conduct                              Place of Manipulative Conduct                     SAC ¶¶
             7   Component        Involved
             8   Helper           Deliberately moving BitMEX                        BitStamp, Coinbase Pro and                        SAC ¶¶
                 Component        index price by placing large                      Kraken, all located in the United                 109, 110,
             9                    market orders with maximum                        States                                            203, Ex.
                                  slippage from helper accounts                                                                       2, 3, 4
           10                     on three illiquid exchanges
                 Liquidation cascades that resulted in some of                      This District, where the majority                 SAC ¶
           11    Plaintiffs’ damages takes place, directly and                      of cloud service providers,                       59, 74-
           12    proximately caused by the deliberate index                         employees, engineering and                        78, 205,
                 price move                                                         software development team and                     295-301,
           13                                                                       the nerve center of operations of                 Ex. 4
                                                                                    BitMEX is located and Kraken,
           14                                                                       also located in this District.
                 Winner                Capturing multiplied (due to                 This District, where the majority                 SAC ¶¶
           15
                 Component             disparity in liquidity)                      of cloud service providers,                       59, 74-
           16                          manipulation profits caused by               employees, engineering and                        78, 203,
                                       the deliberate index price                   software development team and                     205, 214,
           17                          move using winner account(s)                 the nerve center of operations of                 226, 295-
                                       on BitMEX.                                   BitMEX is located                                 300, Ex.
           18                                                                                                                         2, 3
                 Facilitation          Freezing BitMEX servers and                  This District, where the majority                 SAC ¶¶
           19
                 Component             accepting orders on only one                 of cloud service providers,                       59, 74-
           20                          side of the market to                        employees, engineering and                        78, 75,
                                       exacerbate the price moves                   software development team and                     122-124,
           21                          during manipulation times                    the nerve center of operations of                 160, 185,
                                                                                    BitMEX is located                                 186, 203
           22
                         As another example, on pp. 3-4 of the Motion to Dismiss, Mr. Hibbard further represented
           23
                 to Judge Orrick that “Plaintiffs do not allege how or when Defendants themselves purportedly
           24
                 engaged in any of those activities… In other words, Plaintiffs seek to hold Defendants liable
           25
                 because other individuals or entities allegedly have used techniques to manipulate the price of
           26
                 cryptocurrencies listed on other exchanges, which in turn impacts trading activity undertaken by
           27
                 other individuals or entities on BitMEX.” This is again a patently false statement. Please refer to
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   -9-    BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 15 of 31



             1
                 SAC ¶¶ 3, 113 (“[t]he illegal stock price manipulation technique alleged by SEC is identical to
             2
                 the techniques alleged hereinabove and used as well as aided and abetted by Defendants on a
             3
                 daily basis during the time period starting on January 1, 2017 and until now (‘Relevant Period’) to
             4
                 manipulate the prices of cryptocurrencies”), 119 (“BitMEX would then engage in manipulative
             5
                 trading on those exchanges to change the price of bitcoin or ether. Even if only temporary, these
             6
                 price changes would then affect the prices of the futures offered on BitMEX in a way that
             7
                 benefitted BitMEX by allowing it to make margin calls and liquidate its highly leveraged
             8
                 traders”), 122, 123, 124, 125, 183, 185, 186, 203, 206, 214 (“Plaintiffs BMA, Kolchin and
             9
                 Dubinin are informed and believe and thereon allege that Defendants themselves launder
           10
                 funds”… “In addition, the knowing, willful and deliberate effective transmissions of the winnings
           11
                 from market manipulation from the first helper account to the second winner account perpetrated
           12
                 by Defendants on behalf of themselves and/or on behalf of other BitMEX users as described
           13
                 herein, with full knowledge of the nature and purpose of the funds involved in the transfer,
           14
                 constitutes unlicensed money transmission in violation of 18 U.S.C. § 1960(a), which is also a
           15
                 RICO predicate offense”), 238, 243, 244, 250, 251, 260-263, 275-277, 281, 282, 295-300, 319-
           16
                 323, 337-341 and 360-364, which contain overwhelming and very detailed allegations of facts
           17
                 establishing how Defendants themselves manipulated cryptocuurrency markets on a daily basis.
           18
                         Moreover, SAC ¶ 125 explicitly states: “Defendants and each of them have thus
           19
                 manipulated the price of bitcoin and ether, harming Plaintiff and other traders who had their
           20
                 positions liquidated, in violation of the Commodity Exchanges Act, 7 U.S.C. §§ 9, 25 (2012).”
           21
                         As a further example, SAC ¶ 203 states: “For example, Ex. 3, p. 4 describes how a helper
           22
                 account on BitStamp was used on May 17, 2019 to effectively transmit 80 times of the amount
           23
                 money spent from that helper account to a winner account on BitMEX. See also Ex. 2, pp. 2-3
           24
                 describing a similar scheme that used helper accounts on BitStamp to artificially induce massive
           25
                 liquidations of traders, like Plaintiffs, on Bitmex on July 15, 2019, resulting in effective
           26
                 transmission of manipulation winnings from helper accounts on BitStamp to winner accounts on
           27
                 BitMEX. Plaintiffs BMA, Kolchin and Dubinin are informed and believe and thereon allege that
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 10 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 16 of 31



             1
                 Defendants use this unlawful scheme on a regular basis using helper accounts on United States
             2
                 based cryptocurrency exchanges BitStamp, Kraken and Coinbase.”
             3
                         As yet further example, SAC ¶ 205 explicitly states: “For example, Plaintiffs BMA,
             4
                 Kolchin and Dubinin were financially injured when Defendants effectively transmitted funds,
             5
                 which was perpetrated willfully and deliberately by Defendants through their commercial website
             6
                 BitMEX.com, and with full knowledge of the nature and purpose of the funds involved in the
             7
                 transfer, in violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18
             8
                 U.S.C. § 2314 between helper and winner accounts by way of using the helper accounts to
             9
                 perpetrate manipulation by pumping or dumping the cryptocurrency market, thereby causing a
           10
                 liquidation cascade affecting Plaintiffs’ accounts, and using the winner accounts to capture the
           11
                 financial benefits of the aforesaid manipulation. As the result of the actions of the Defendants
           12
                 alleged in this Paragraph, the positions of Plaintiffs’ were liquidated.”
           13
                         As yet further example, SAC ¶ 207 explicitly states: “Moreover, the aforesaid illegal acts
           14
                 of effectively transmitting market manipulation winnings from helper accounts to winner
           15
                 accounts, which resulted in the injury to Plaintiffs, were all perpetrated by Defendants through the
           16
                 same commercial website BitMEX.com, which is accessible and is extensively used, via widely
           17
                 available and inexpensive VPN software, by users located in the United States and this District.”
           18
                         As yet further example, SAC ¶¶ 260-261 provide:
           19
                         Plaintiffs BMA, Kolchin and Dubinin are informed and believe and thereon allege that,
           20            during the Relevant Period, Defendants, and each of them, used wire signals to transmit
                         various electronic orders to multiple cryptocurrency exchanges for the specific purpose of
           21            misleading traders and investors as to the cryptocurrency market’s natural forces of supply
                         and demand and for manipulating prices of spot cryptocurrencies and cryptocurrency
           22            derivatives. … Plaintiffs BMA, Kolchin and Dubinin are informed and believe and
           23            thereon allege that the alleged fraudulent electronic wire transmissions were performed by
                         Defendants on a daily basis during the Relevant Period and were carried out from
           24            Defendants’ offices located in San Francisco, California and Hong Kong Special
                         Administrative Region of the People’s Republic of China and to respective computer
           25            servers of Amazon EKS as well as computer serves of multiple other cryptocurrency
                         exchanges that Defendants used to perpetrate their manipulative and fraudulent scheme
           26            alleged hereinabove. Plaintiffs BMA, Kolchin and Dubinin are informed and believe and
           27            thereon allege that each of Defendants HDR, ABS, Hayes, Delo and Reed issued the
                         alleged fraudulent electronic wire transmissions on a daily basis during the Relevant
           28            Period, including May 17, 2019, June 26, 2019, July 14, 2019, and March 13, 2020
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 11 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 17 of 31



             1           (emphasis added).
             2           As one can clearly see, the above-cited portions of the SAC provide very extensive and

             3   very detailed allegations of “how or when Defendants themselves purportedly engaged in any of

             4   [manipulation] activities.” Thus, Mr. Hibbard’s above representation that “Plaintiffs do not allege

             5   how or when Defendants themselves purportedly engaged in any of those activities…” was a

             6   willful and deliberate untruth that Mr. Hibbard perpetrated on this Court.

             7           As yet another example, on p. 6 of the Motion to Dismiss, Mr. Hibbard represented to

             8   Judge Orrick that “because Plaintiffs have already had multiple opportunities “to state actionable

             9   claims and fix deficiencies in their complaints” but have failed to do so, this Court should dismiss

           10    Plaintiffs’ case with prejudice.” This representation is also blatantly untrue. In reality, two of the

           11    three Plaintiffs were added to this lawsuit for the first time in the SAC. They did not get a chance

           12    to amend even once.

           13            Accordingly, in view of multiple false statements in both Motions to Dismiss and Stay

           14    Discovery, Plaintiffs respectfully request the Court to issue an Order to Show Cause why

           15    sanctions should not be imposed on Defendants for filing papers with the Court containing

           16    numerous material misrepresentations with a clear aim to confuse and mislead Judge Orrick.

           17                         Defendants’ CEA Extraterritoriality Arguments Are Baseless
           18            The market manipulation alleged in the SAC has three components: the helper component,
           19    the winner component and the facilitation component. The helper component involves
           20    deliberately moving BitMEX index price by placing large market orders with maximum slippage
           21    from helper accounts on illiquid U.S. based cryptocurrency exchanges BitStamp, Coinbase Pro
           22    and Kraken and, therefore, it takes place entirely in the U.S. as Coinbase Pro and Kraken are
           23    based in this District and BitStamp is based in New York, SAC ¶¶ 109, 203, Ex. 4.
           24            The second, winner component of the market manipulation encompasses capturing
           25    multiplied manipulation profits using winner account(s) on BitMEX. In this regard, it is
           26    important to note that unlike traditional stock or commodity exchanges that have trading floors
           27    manned by brokers, BitMEX exist only in the Internet cloud, and does not have a single
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 12 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                          Document 74             Filed 10/26/20          Page 18 of 31



             1
                 centralized location where all the trading takes place. Various pieces of software code and data
             2
                 used by BitMEX to enable trading are scattered among multiple cloud service providers, the vast
             3
                 majority of which are located in this District, SAC ¶ 59. Moreover, the vast majority of BitMEX
             4
                 employees, the vast majority of engineering and software development team and the nerve center
             5
                 of BitMEX operations are also located in this District, SAC ¶¶ 74-78. Therefore, of all the places
             6
                 in the world, this District is clearly the location where the center of gravity of BitMEX operations
             7
                 lies and, consequently, it is where the alleged winner component of the market manipulation takes
             8
                 place.
             9
                            Finally, the facilitation component involves freezing BitMEX servers and accepting orders
           10
                 only on one side of the market to exacerbate the price moves during manipulation times. This
           11
                 component again takes place entirely in this District, where all three site reliability engineers of
           12
                 BitMEX, who are responsible for the trading platform uptime and who perpetrated the server
           13
                 freezes, are located, SAC ¶¶ 74, 75, 185, 186.
           14
                            Therefore, as the below table clearly shows, all three market manipulation components
           15
                 alleged in the SAC take place in the United States and, consequently, Defendants’ baseless
           16
                 extraterritoriality arguments must be rejected.
           17
                 Manipulation     Manipulative Conduct                                   Place of Manipulative Conduct                     SAC ¶¶
           18    Component        Involved
           19    Helper           Deliberately moving BitMEX                             BitStamp, Coinbase Pro and                        SAC ¶¶
                 Component        index price by placing large                           Kraken, all located in the United                 109, 110,
           20                     market orders with maximum                             States                                            203, Ex.
                                  slippage from helper accounts                                                                            2, 3, 4
           21                     on three illiquid exchanges
                 Liquidation cascades that resulted in some of                           This District, where the majority                 SAC ¶
           22    Plaintiffs’ damages takes place, directly and                           of cloud service providers,                       59, 74-
           23    proximately caused by the deliberate index                              employees, engineering and                        78, 205,
                 price move                                                              software development team and                     295-301,
           24                                                                            the nerve center of operations of                 Ex. 4
                                                                                         BitMEX is located and Kraken,
           25                                                                            also located in this District.
                 Winner                   Capturing multiplied (due to                   This District, where the majority                 SAC ¶¶
           26
                 Component                disparity in liquidity)                        of cloud service providers,                       59, 74-
           27                             manipulation profits caused by                 employees, engineering and                        78, 203,
                                          the deliberate index price                     software development team and                     205, 214,
           28                             move using winner account(s)                   the nerve center of operations of                 226, 295-
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS               PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 13 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 19 of 31



             1                         on BitMEX.                                     BitMEX is located                                 300, Ex.
                                                                                                                                        2, 3
             2   Facilitation          Freezing BitMEX servers and                    This District, where the majority                 SAC ¶¶
             3   Component             accepting orders on only one                   of cloud service providers,                       59, 74-
                                       side of the market to                          employees, engineering and                        78, 75,
             4                         exacerbate the price moves                     software development team and                     122-124,
                                       during manipulation times                      the nerve center of operations of                 160, 185,
             5                                                                        BitMEX is located                                 186, 203
             6           Even if the Court concludes that BitMEX itself is based elsewhere, which it should not,
             7   based on the above facts, the undisputed location of the helper manipulation component in the
             8   United States is by itself sufficient to warrant application of the CEA and RICO to the alleged
             9   illegal conduct, which is clearly not “predominantly foreign.” Laydon v. Mizuho Bank, Ltd., No.
           10    12 Civ. 3419 (GBD), 2020 WL 5077186, at *2 (S.D.N.Y. Aug. 27, 2020) . Likewise, the United
           11    States centric facilitation component also warrants the same conclusion.
           12               Defendants’ RICO Extraterritoriality Arguments Are Equally Groundless
           13            A summary of RICO overt acts perpetrated by Defendants and alleged in SAC is provided
           14    in the table below. All of those overt acts take place either on U.S. based cryptocurerency
           15    exchanges BitStamp, Coinbase Pro and Kraken or on BitMEX itself, which has the majority of
           16    cloud service providers, employees, engineering and software development team and the nerve
           17    center of operations in this District:
           18
                 RICO       RICO Conduct Involved                                  Place of Conduct                                    SAC ¶¶
           19    Overt
                 Act
           20    1         Defendants transmitting electronic                      This District, where the majority of                SAC ¶¶
                           wire signals to inject false                            cloud service providers, employees,                 59, 74-78,
           21              information as to market forces of                      engineering and software                            109, 259-
           22              supply and demand into                                  development team and the nerve                      268, Ex. 4
                           cryptocurrency markets and                              center of operations of BitMEX is
           23              mislead traders to open unfavorable                     located; BitStamp, Coinbase Pro and
                           trading positions to be subsequently                    Kraken, all located in the United
           24              liquidated (e.g. first leg of a Bart)                   States
                 Some Plaitniffs on some occasions enter into                      This District, where the majority of                SAC ¶ 59,
           25
                 unfavorable trading positions being mislead                       cloud service providers, employees,                 74-78,
           26    by false market forces information injected                       engineering and software                            109, 205,
                 by Defendants                                                     development team and the nerve                      259-268,
           27                                                                      center of operations of BitMEX is                   Ex. 4
                                                                                   located and Kraken, also located in
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 14 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 20 of 31



             1                                                                     this District.
                 2         Defendants electronically                               BitStamp, Coinbase Pro and Kraken, SAC ¶¶
             2             transfering (depositing) funds into                     all located in the United States   109, 203,
             3             helper account(s)                                                                          226, Ex. 4
                 3         Defendants transmitting electronic                      BitStamp, Coinbase Pro and Kraken, SAC ¶¶
             4             wire signals to deliberately move                       all located in the United States   109, 203,
                           BitMEX index price by placing                                                              Ex. 4
             5             large market orders with maximum
                           slippage from the helper accounts
             6
                           on three illiquid exchanges
             7   Liquidation cascade that resulted in some of                      This District, where the majority of                SAC ¶ 59,
                 Plaintiffs’ damages due to liquidation of                         cloud service providers, employees,                 74-78,
             8   Plaintiffs’ positions takes place, directly and                   engineering and software                            205, 295-
                 proximately caused by the deliberate index                        development team and the nerve                      300
             9   price move                                                        center of operations of BitMEX is
           10                                                                      located
                 4          Defendants transmitting electronic                     This District, where the majority of                SAC ¶¶
           11               wire signals to capture multiplied                     cloud service providers, employees,                 59, 74,
                            (due to disparity in liquidity)                        engineering and software                            203, 205,
           12               manipulation profits caused by the                     development team and the nerve                      207, 214,
                            deliberate index price move using                      center of operations of BitMEX is                   226, 295-
           13               winner account(s) on BitMEX                            located                                             300, Ex. 2
           14    5          Defendants transmitting electronic                     This District, where all three site                 SAC ¶¶
                            wire signals to freeze BitMEX                          reliability engineers of BitMEX,                    74-78,
           15               servers and accepting orders on                        who are responsible for the trading                 122-124,
                            only one side of the market to                         platform uptime and server freezes,                 160, 185,
           16               exacerbate the price moves during                      are located                                         186
                            manipulation times
           17
                 6          Defendants electronically                              This District, where the majority of                SAC ¶¶
           18               transfering (withdrawing) funds                        cloud service providers, employees,                 59, 74,
                            from winner account(s) into bitcoin                    engineering and software                            203, 226
           19               wallet                                                 development team and the nerve
                                                                                   center of operations of BitMEX is
           20                                                                      located
           21    7          Defendants transmitting electronic                     BitStamp, Coinbase Pro and Kraken,                  SAC ¶¶
                            wire signals to convert proceeds of                    all located in the United States                    59, 74,
           22               market manipulation into fiat (legal                                                                       109, 203,
                            tender) currencies                                                                                         Ex. 4
           23
                         Therefore, all the above RICO overt acts also take place entirely in the United States.
           24
                         A summary of alleged RICO predicates perpetrated by Defendants is provided in the table
           25
                 below. All of those predicates also take place either on United States based cryptocurerency
           26
                 exchanges BitStamp, Coinbase Pro and Kraken and on BitMEX itself, which has the majority of
           27
                 cloud service providers, employees, engineering and software development team and the nerve
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 15 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 21 of 31



             1
                 center of operations in this District, see SAC ¶¶ 59, 74, 109, Ex. 4:
             2
                 RICO                  RICO        Place of Conduct                                                                     SAC ¶¶
             3   Predicate             Overt Acts
             4   18 U.S.C. §           2, 3, 4, 5, This District, where the majority of cloud service                                   SAC ¶¶
                 1960                  6, 7        providers, employees, engineering and software                                       59, 74-
             5   Unlicensed                        development team and the nerve center of operations                                  78, 109,
                 Money                             of BitMEX is located; BitStamp, Coinbase Pro and                                     209-233,
             6   Transmissions                     Kraken, all located in the United States                                             Ex. 4
                 18 U.S.C. §           2, 3, 4, 5, This District, where the majority of cloud service                                   SAC ¶¶
             7   1956                  6, 7        providers, employees, engineering and software                                       59, 74-
             8   Money                             development team and the nerve center of operations                                  78, 109,
                 Laundering                        of BitMEX is located; BitStamp, Coinbase Pro and                                     203, 235-
             9                                     Kraken, all located in the United States                                             244,
                                                                                                                                        Ex. 4
           10    18 U.S.C. §           2, 3, 4, 5,          This District, where the majority of cloud service                          SAC ¶¶
                 1957 Money            6, 7                 providers, employees, engineering and software                              59, 74-
           11
                 Laundering                                 development team and the nerve center of operations                         78, 246-
           12                                               of BitMEX is located; BitStamp, Coinbase Pro and                            256, Ex.
                                                            Kraken, all located in the United States                                    4
           13    18 U.S.C. §           1, 2, 3, 4,          This District, where the majority of cloud service                          SAC ¶¶
                 1343                  5, 6, 7              providers, employees, engineering and software                              74-78,
           14    Wire Fraud                                 development team and the nerve center of operations                         185, 186,
                                                            of BitMEX is located; BitStamp, Coinbase Pro and                            259-268,
           15
                                                            Kraken, all located in the United States                                    Ex. 4
           16    18 U.S.C. §    2, 3, 4, 5,                 This District, where the majority of cloud service                          SAC ¶¶
                 2314           6, 7                        providers, employees, engineering and software                              59, 74-
           17    Transportation                             development team and the nerve center of operations                         78, 274-
                 of Stolen                                  of BitMEX is located; BitStamp, Coinbase Pro and                            282, Ex.
           18    Property                                   Kraken, all located in the United States                                    4
           19
                                Defendants’ Lack Of Standing Arguments Are Similarly Groundless
           20            Plaintiffs traded Bitcoin/US Dollar Perpetual Inverse Swap Contract with ticker symbol
           21    XBTUSD on both U.S. based Kraken and U.S. based BitMEX exchanges. Both of the above
           22    derivative contracts meet the definition of a "swap" under CEA, 7 U.S.C § 1a(47)(a)(IV), which
           23    defines "Swap" as: "(iv) … an agreement, contract, or transaction that is, or in the future
           24    becomes, commonly known to the trade as a swap." Defendants themselves specifically admitted
           25    that their XBTUSD contract is known to the trade as a "swap," thus meeting definition under
           26    CEA, Ex. 33. Therefore, Plaintiffs can pursue their claims under CEA, 7 U.S.C. § 25(a)(1)(D),
           27    which specifically covers “swaps.”
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 16 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 22 of 31



             1
                         At ¶¶ 295-303, 316-326, 335-344, 351-364, SAC clearly alleges that Plaintiffs’ damages
             2
                 were caused by liquidation of Plaintiffs’ trading positions due to liquidation cascades.
             3
                 Liquidation cascades are like-domino events when numerous leveraged trader positions are
             4
                 liquidated during a short period of time, causing violent price moves. Each subsequent
             5
                 liquidation pushes the price of the asset even further triggering even more liquidations in a
             6
                 nuclear chain reaction manner. To trigger a liquidation cascade, Defendants moved the index
             7
                 price below or above a liquidation point of a first trader position, triggering its liquidation. The
             8
                 so triggered liquidation moves the price even further and triggers one or more subsequent
             9
                 liquidations of other trader positions, just like a first toppled domino results in the toppling of the
           10
                 neighboring ones.
           11
                         As SAC clearly alleges, Plaintiffs were harmed in clearly identified amounts of bitcoin
           12
                 during those catastrophic events, SAC ¶¶ 295-303, 316-326, 335-344, 351-364. SAC further
           13
                 clearly alleges that those events were specifically caused by Defendants themselves, who acted on
           14
                 financial motives, when Defendants used helper accounts on U.S. based BitStamp, Coinbase Pro
           15
                 and Kraken to induce artificial index price moves specifically calculated to trigger those
           16
                 liquidation cascades, SAC ¶¶ 295-303, 316-326, 335-344, 351-364. Defendants’ use of the helper
           17
                 accounts on U.S. based BitStamp, Coinbase Pro and Kraken to artificially move the index price
           18
                 was the part of Defendants’ market manipulation under CEA and also part of all RICO predicate
           19
                 offenses listed in the above tables and also part of the state law conduct.
           20
                         Moreover, SAC alleges that Defendants themselves were the primary financial
           21
                 beneficiaries of the alleged liquidation cascades that harmed Plaintiffs, by way of confiscating the
           22
                 remaining collateral in Plaintiffs’ liquidated accounts and placing it into their “Insurance Fund,”
           23
                 SAC ¶¶ 149, 182, 295-303, 316-326, 335-344, 351-364. Finally, SAC ¶¶ 295-303, 316-326, 335-
           24
                 344, 351-364, allege that the liquidation cascades caused by Defendants themselves took place on
           25
                 U.S. based exchanges. Thus, the above allegations clearly establish causation and plausibility of
           26
                 all Plaintiffs’ claims making the causation not only plausible, but in fact, crystal clear.
           27
                         Defendants’ argument that “BMA’s failure to specify whether it is “seeking to vindicate
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 17 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 23 of 31



             1
                 [its] own rights” or the rights of its purported members (and, if so, what rights)” is groundless.
             2
                 SAC ¶ 8 clearly alleges that “Plaintiff BMA is the real party in interest.” Defendants
             3
                 intentionally overlook this allegation and are trying to sow confusion with the Court. Because
             4
                 Plaintiff BMA is the real party in interest, it clearly seeks to vindicate its own legal rights.
             5
                         Article III of the Constitution extends the judicial "Power of the United States" to only
             6
                 "Cases" and "Controversies." U.S. Constitution, Art. III, § 2. "Standing to sue is a doctrine rooted
             7
                 in the traditional understanding of a case or controversy." Spokeo, Inc. v. Robins, 136 S. Ct. 1540,
             8
                 1547 (2016). Standing consists of three elements. Id. "The plaintiff must have (1) suffered an
             9
                 injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is
           10
                 likely to be redressed by a favorable judicial decision." Id. (citing Lujan v. Defenders of Wildlife,
           11
                 504 U.S. 555, 560-61 (1992)); see also Maya v. Centex Corp., 658 F.3d 1060, 1067 (9th Cir.
           12
                 2011). At the pleading stage, the plaintiff must clearly allege facts demonstrating each element.
           13
                 Id. at 1547. "The injury-in-fact requirement requires a plaintiff to allege an injury that is both
           14
                 `concrete and particularized' and `actual or imminent, not conjectural or hypothetical.'" Spokeo,
           15
                 136 S. Ct. at 1548 (citing Lujan, 504 U.S. at 560). Under the injury-in-fact requirement,
           16
                 particularity and concreteness are two separate inquires. Robins v. Spokeo, Inc., 867 F.3d 1108,
           17
                 1111 (2017). An injury is concrete when it actually exists. Spokeo, 136 S. Ct. at 1548. Intangible
           18
                 injuries can be concrete. Id. at 1549. For an injury to be "particularized," as required for Article
           19
                 III standing, it "must affect the plaintiff in a personal and individual way." Id. at 1548. The injury
           20
                 allegations of SAC clearly meet all of these requirements, see, for example, SAC ¶¶ 295-303,
           21
                 316-326, 335-344, 351-364.
           22
                         On the other hand, there is absolutely no legal requirement that, at the pleadings stage,
           23
                 Plaintiffs BMA and Kolchin [must] allege specific information sufficient for HDR to ascertain
           24
                 whether they ever traded on the BitMEX platform.” There is also absolutely no requirement for
           25
                 “Plaintiffs [to have] specified any user names or email addresses from which HDR could identify
           26
                 any accounts associated with Plaintiffs.” Obtaining information about specific trades of Plaintiffs
           27
                 is the subject matter of discovery and not Motion for Leave to Amend at the pleadings stage. For
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 18 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 24 of 31



             1
                 purposes of this Motion, all Plaintiffs’ allegations are taken as true. Such allegations are clearly
             2
                 sufficient to satisfy both the constitutional and the statutory standing requirement. For this
             3
                 reason, Defendants’ argument is laughable and must be rejected.
             4
                           Notably, while attempting to mislead the Court with the above meritless arguments,
             5
                 Defendants failed to cite a single market manipulation case resorting to cases containing very
             6
                 general proclamations on the requirements for pleading a specific injury. On the other hand,
             7
                 multiple market manipulation cases on point from various courts directly contradict all of
             8
                 Defendants’ arguments.5
             9
                           In Dennis v. JPMorgan Chase & Co., 343 F. Supp. 3d 122, 155 (S.D.N.Y. Nov 26, 2018),
           10
                 in a market manipulation case, the Court held:
           11
                           Plaintiffs Dennis, Sonterra, and FrontPoint Event Driven here allege that defendants
           12              manipulated BBSW on days when these plaintiffs transacted in BBSW-Based Derivatives,
           13              thereby impacting the price of and/or periodic payments due on such derivatives and
                           causing these plaintiffs to be either overcharged or underpaid. This alleged injury readily
           14              meets the "low threshold" for injury-in-fact. The harm of "pa[ying] too much" or
                           "receiv[ing] too little" is a "classic economic injury-in-fact." In Gelboim v. Bank of
           15              America Corporation, for example, the Second Circuit considered an Article III challenge
                           to plaintiffs who there alleged that they had been "harmed by receiving lower returns on
           16              LIBOR-denominated instruments as a result of defendants' manipulation of LIBOR." The
           17              Circuit concluded that plaintiffs had "easily satisfied" the injury-in-fact requirement. …
                           Accordingly, Dennis, Sonterra and FrontPoint Event Driven each sufficiently has alleged
           18              injury-in-fact.

           19    Id. at 155.

           20              In Sullivan v. Barclays PLC, 13-cv-2811 (PKC) (S.D.N.Y. Feb 21, 2017), the Court

           21    stated:
                           Defendants argue that plaintiffs do not have standing to bring claims directed to LIFFE
           22              futures and interest rate swaps because the Complaint does not specifically link the dates
                           of defendants' individual Euribor manipulations with the dates that plaintiffs' settled their
           23
                           positions. (Def. Mem. at 8-9.)
           24              But the Complaint alleges a years-long conspiracy to secretly manipulate the Euribor, and
                           asserts that defendants' misconduct occurred "on a daily basis. . . ." (Compl't ¶ 50.) True,
           25              the Complaint identifies certain specific dates where defendants allegedly communicated
                           with one another about manipulating the Euribor, but those dates do not purport to be the
           26              universe of defendants' communications and misconduct. It ultimately is plaintiffs' burden
           27
                 5
                   It should be also noted that Plaintiffs’ counsel shared the below cases with Defendants’
           28    attorneys early on in the case, who chose not to cite them to the Court.
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 19 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 25 of 31



             1           to prove that any unlawful manipulation of the Euribor resulted in injury. For the purpose
                         of alleging a standing at the pleading stage, however, the plaintiffs have adequately
             2           alleged a traceable injury resulting from the defendants' alleged manipulation of the
             3           Euribor.
                         Defendants' motion to dismiss plaintiffs' claims directed to LIFFE Futures and Interest
             4           Rate Swaps for lack of standing is therefore denied.

             5   Id. at 155.

             6           Even pleading the specific exemplary trades, which Plaintiffs have done in SAC anyway,

             7   is not required to establish both constitutional and statutory standing. In re Foreign Exch.

             8   Benchmark Rates Antitrust Litig., 74 F.Supp.3d 581, 595 (S.D.N.Y. 2015) (rejecting argument

             9   that a complaint need "allege facts that, if proven, would establish ... actual harm in real trades in

           10    specific currencies on particular days" (emphasis omitted)):

           11            Defendants argue that the U.S. Complaint fails to "allege facts that, if proven, would
                         establish ... actual harm in real trades in specific currencies on particular days." (emphases
           12            in original). Defendants contend that the U.S. Complaint does not adequately allege an
           13            injury in fact, a requisite for standing, because, absent such specifics, any allegation of
                         harm is conclusory. Defendants' argument is rejected.
           14            Plaintiffs "must have suffered an injury-in-fact, that is, the invasion of a `legally protected
                         interest' in a manner that is `concrete and particularized' and `actual or imminent, not
           15            conjectural or hypothetical.'" Bhatia v. Piedrahita, 756 F.3d 211, 218 (2d Cir.2014)
                         (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560, 112 S.Ct. 2130, 119 L.Ed.2d
           16
                         351 (1992)). The standing requirements ensure that judicial resources are "devoted to
           17            those disputes in which the parties have a concrete stake." Id. (quoting Friends of the
                         Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 191, 120 S.Ct. 693, 145 L.Ed.2d
           18            610 (2000)). Plaintiffs have demonstrated that they have a concrete stake in the present
                         action. Each named Plaintiff claims that it was injured by having to pay supra-competitive
           19            prices as a result of Defendants' manipulation of the Fix.
                         Defendants conceded at oral argument, as they must, that any particular transaction that a
           20
                         particular Plaintiff entered into with a particular Defendant on a day that the Fix was
           21            manipulated to that Plaintiff's detriment would sufficiently demonstrate injury in fact as to
                         that Plaintiff. Defendants' argument based on injury in fact, like their argument based on
           22            plausibility, ultimately amounts to a demand for specifics that are not required, and that
                         Plaintiffs could not be reasonably expected to know, at the pleading stage.
           23            Discovery may show that, for particular transactions, some Plaintiffs benefited instead of
                         being harmed by the manipulation of the Fix, but "the fact that an injury may be
           24
                         outweighed by other benefits, while often sufficient to defeat a claim for damages, does
           25            not negate standing." Ross v. Bank of America N.A., 524 F.3d 217, 222 (2d Cir.2008).
                         The U.S. Complaint's plausible allegations about an overarching conspiracy among
           26            horizontal competitors to fix prices that resulted in Plaintiffs paying overcharges satisfy
                         the injury-in-fact requirement at the pleading stage.
           27
                 Id. at 595. See also In re London Silver Fixing, Ltd., Antitrust Litig. No. 14-MD-2573 (VEC),
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 20 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 26 of 31



             1
                 213 F.Supp.3d 530, 559-60, 2016 WL 5794777, at *7 (S.D.N.Y. Oct. 3, 2016) (rejecting
             2
                 argument that “buyers and sellers who traded at various times” lacked Article III standing
             3
                 because “there is no way to conclude that Plaintiffs sustained any loss as a result of Defendants’”
             4
                 manipulation).
             5
                         Moreover, alleging each losing trade is not required for establishing standing and the
             6
                 Court will not second-guess the alleged causation at the pleadings stage:
             7
                         Defendants' various arguments that a causal nexus between the alleged manipulation and
             8           each of plaintiffs' specific transactions is implausible fail as well. As an initial matter, the
             9           standard for Article III standing is not whether such the alleged injury is plausibly fairly
                         traceable, but, rather, whether the injury is possibly fairly traceable. Moreover, the Court
           10            declines at this early stage of litigation to make assumptions about how enduring or short-
                         lived the effect of the alleged misconduct might have been on a given BBSW-Based
           11            Derivative. Finally, the dates identified in the amended complaint in any event "do not
                         purport to be the universe of defendants' communications and misconduct" or of plaintiffs'
           12            transactions in BBSW-Based Derivatives.
           13            In John v. Whole Foods Market Group, Inc., the Second Circuit concluded that the
                         plaintiff, a regular purchaser of certain items from Whole Foods Market, had Article III
           14            standing to sue Whole Foods in light of a report that Whole Foods had "systematically"
                         and "routinely" overcharged for those products during the general period in which the
           15            plaintiff had made his purchases. Although Whole Foods does not directly control, it
                         nonetheless weighs in favor of plaintiffs, who have asserted here that defendants engaged
           16
                         in systematic manipulation of BBSW and that the trades alleged in the amended complaint
           17            are only some examples of numerous transactions entered into by plaintiffs.

           18    Dennis v. JPMorgan Chase & Co., 343 F. Supp. 3d 122, 159 (S.D.N.Y. Nov 26, 2018).

           19            Defendants’ last resort argument that “the causal chain is too weak to support [Plaintiffs’]

           20    standing” due to the general susceptibility of the crypt market to manipulation is similarly

           21    laughable. Wash. Envtl. Council v. Belton, 732 F.3d 1131, 1142 (9th Cir. 2013) that Defendants

           22    cite is simply inapplicable here as the causal chain alleged in the SAC does not involve many

           23    “third parties whose independent decisions collectively have a significant effect on plaintiffs'

           24    injuries.” SAC specifically alleges that Defendants themselves directly caused Plaintiffs’ injuries,

           25    without any required action by third parties, which allegation must be taken as true, SAC ¶¶ 3,

           26    113, 119, 122, 123, 124, 125, 183, 185, 186, 203, 206, 214, 238, 243, 244, 250, 251, 260-263,

           27    275-277, 281, 282, 295-301, 319-324, 337-342 and 360-368.

           28            Moreover, “[t]he choice between two plausible inferences that may be drawn from factual
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 21 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 27 of 31



             1
                 allegations is not a choice to be made by the court on a Rule 12(b)(6) motion.” Anderson News,
             2
                 LLC v. American Media, Inc., 680 F. 3d 162, 185 (2d Cir. 2012). The Court cannot dismiss a
             3
                 complaint that alleges “plausible version of the events merely because the court finds a different
             4
                 version more plausible.” Id.
             5
                         Because plausibility is a standard lower than probability, a given set of actions may well
             6           be subject to diverging interpretations, each of which is plausible. See generally Anderson
             7           v. Bessemer City, 470 U.S. 564, 575, 105 S.Ct. 1504, 84 L.Ed.2d 518 (1985) ("two or
                         more witnesses" may tell mutually inconsistent but "coherent and facially plausible
             8           stor[ies]"). The choice between or among plausible inferences or scenarios is one for the
                         factfinder, see id.…
             9           The choice between two plausible inferences that may be drawn from factual allegations is
                         not a choice to be made by the court on a Rule 12(b)(6) motion. "[F]act-specific
           10            question[s] cannot be resolved on the pleadings." Todd v. Exxon Corp., 275 F.3d 191, 203
           11            (2d Cir.2001) ("Todd"). A court ruling on such a motion may not properly dismiss a
                         complaint that states a plausible version of the events merely because the court finds a
           12            different version more plausible.
                         Rather, in determining whether a complaint states a claim that is plausible, the court is
           13            required to proceed "on the assumption that all the [factual] allegations in the complaint
                         are true." Twombly, 550 U.S. at 555, 127 S.Ct. 1955 (emphasis added). Even if their truth
           14
                         seems doubtful, "Rule 12(b)(6) does not countenance ... dismissals based on a judge's
           15            disbelief of a complaint's factual allegations," id. at 556, 127 S.Ct. 1955 (internal
                         quotation marks omitted). Given that the plausibility requirement "does not impose a
           16            probability requirement at the pleading stage," the Twombly Court noted that "a well-
                         pleaded complaint may proceed even if it strikes a savvy judge that actual proof of the
           17            facts alleged is improbable, and that a recovery is very remote and unlikely." Id. (internal
                         quotation marks omitted).
           18
                 Id. Thus, for all the forgoing reasons, the SAC adequately alleges facts establishing both
           19
                 constitutional and statutory standing and Defendants’ laughable arguments must be rejected.
           20

           21           SAC Satisfies Heightened Pleading Standard Under Rule 9(b) Where It Applies
                         Defendants falsely assert that all RICO predicate offenses and all causes of action under
           22
                 CEA must be plead pursuant to Rule 9(b) heightened pleading standard. Not only do Defendants
           23
                 fail to cite any authority for their expansive particularity requirement, but such a requirement is at
           24
                 odds with the principle that Article III requires only "general factual allegations of injury
           25
                 resulting from the defendant's conduct" at the pleading stage. Lujan, 504 U.S. at 561, 112 S.Ct.
           26
                 2130 ("[O]n a motion to dismiss we presume that general allegations embrace those specific facts
           27
                 that are necessary to support the claim.")
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 22 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 28 of 31



             1
                         Regarding Defendants’ false assertion (again without any case citation) on page 11 of the
             2
                 Opposition that Rule 9(b) applies to all of the claims asserted, it is inaccurate to say the
             3
                 least. Rule 9(b) only applies to CEA market manipulation claims under CEA Section 6(c)(1) and
             4
                 Regulation 180.1 (Count III), but does not apply to claims for violations of CEA Sections 9(a)(2),
             5
                 6(c)(3) and Regulation 180.2 (Count IV). Rule 9(b) applicability to various CEA claims was
             6
                 explained in Kraft Foods Grp., Inc., 153 F. Supp. 3d 996, 1007. (N.D. Ill. 2015). Fraud is not
             7
                 part of cause of action for market manipulation under CEA Sections 9(a)(2), 6(c)(3) and
             8
                 Regulation 180.2 (Count IV) and, therefore, no heightened pleading standard is applicable.
             9
                         Moreover, even when Rule 9(b) applies to a cause of action for market manipulation
           10
                 under CEA Section 6(c)(1) and Regulation 180.1 (Count III), “[d]espite the generally rigid
           11
                 requirement that fraud be pleaded with particularity, the Second Circuit has recognized that "[a]
           12
                 claim of manipulation . . . can involve facts solely within the defendant's knowledge; therefore, at
           13
                 the early stages of litigation, the plaintiff need not plead manipulation to the same degree of
           14
                 specificity as a plain misrepresentation claim." ATSI Commc'ns, Inc. v. Shaar Fund, Ltd., 493
           15
                 F.3d 87, 102 (2d Cir. 2007) (citing Internet Law Library, Inc. v. Southridge Capital Mgmt., LLC,
           16
                 223 F. Supp. 2d 474, 486 (S.D.N.Y. 2002)). As a result, the heightened pleading standard under
           17
                 9(b) "is generally relaxed in the context of manipulation-based claims, where the complaint must
           18
                 simply specify `what manipulative acts were performed, which defendants performed them, when
           19
                 the manipulative acts were performed, and what effect the scheme had on the market for the
           20
                 securities at issue.'" In re Silver, 2016 WL 5794777, at *19 (citing ATSI Commc'ns, Inc. v. Shaar
           21
                 Fund, Ltd., 493 F.3d 87, 102 (2d Cir. 2007), quoting In re Nat. Gas Commodity Litig., 358 F.
           22
                 Supp. 2d 336, 343 (S.D.N.Y. 2005)); see also Sullivan v. Barclays, 2017 WL 685570, at *30.
           23
                 SAC clearly meets this standard, see, for example, SAC ¶¶ 123-124, 203, 259-268, 295-301.
           24
                         The heightened standard of Rule 9(b) also applies only to RICO claims alleging predicate
           25
                 acts involving fraud. See, e.g., Lancaster Cmty. Hosp. v. Antelope Valley Hosp. Dist., 940 F.2d
           26
                 397, 405 (9th Cir.1991) (mail fraud); Alan Neuman Prods., Inc. v. Albright, 862 F.2d 1388, 1392-
           27
                 93 (9th Cir. 1988) (mail and wire fraud). Thus, the heightened pleading standard under Rule 9(b)
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 23 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20          Page 29 of 31



             1
                 is applicable only to RICO predicate offense under 18 U.S.C. § 1343. It does not apply to RICO
             2
                 predicate offenses under 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1956(a), 18
             3
                 U.S.C. § 1952 and 18 U.S.C. § 2314. Therefore, Defendants’ arguments that the SAC fails to
             4
                 satisfy the heightened pleading standard under Rule 9(b) are also baseless.
             5
                         But even with respect to the CEA market manipulation claims under CEA Section 6(c)(1)
             6
                 and Regulation 180.1 (Count III) and RICO predicate offense under 18 U.S.C. § 1343, SAC
             7
                 sufficiently alleges the requisite acts. In the context of RICO, Rule 9(b) requires that a plaintiff
             8
                 "detail[s] with particularity the time, place, and manner of each act of fraud, plus the role of each
             9
                 defendant in each scheme." In re Toyota Motor Corp., 785 F. Supp. 2d 883, 919 (C.D. Cal. 2011)
           10
                 (citing Lancaster Cmty. Hosp. v. Antelope Valley Hosp. Dist., 940 F.2d 397, 405 (9th Cir.
           11
                 1991))."
           12
                         SAC easily satisfies this requirement, see, for example, SAC ¶¶ 123-124, 203, 259-268,
           13
                 295-301, which contain various tables and diagrams providing excruciatingly detailed
           14
                 information of who, what, when, where, and how, with respect to each of the alleged overt acts by
           15
                 specific Defendants in violation of both RICO and CEA, which clearly satisfies the heightened
           16
                 pleading requirement of Fed. R. Civ. P. 9(b). See also SAC ¶¶ 122-124, 160, 259-268, alleging
           17
                 with great specificity the elements of the wire fraud scheme perpetrated by Defendants.
           18
                                                  Defendants’ Lumping Argument Is Laughable
           19
                         A plaintiff may not simply lump together multiple defendants without specifying the role
           20
                 of each defendant in the fraud." In re Toyota Motor Corp., 785 F. Supp. 2d 883, 919 (C.D. Cal.
           21
                 2011). SAC easily satisfies this requirement, see, for example, SAC ¶¶ 195, 196, which describe
           22
                 with great particularity the role of each Defendant in the alleged scheme. Therefore, Defendants’
           23
                 lumping argument is baseless.
           24
                      SAC Adequately Alleges Two RICO Predicate Offenses For Each RICO Defendant
           25
                         Defendants further argue that SAC fails to allege that each Defendant engaged in at least
           26
                 two predicate acts prohibited by RICO. This is false, see SAC ¶¶ 200, 293, 315, 318, 259-268,
           27
                 295-300, 319-323, 337-341 and 360-364.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 24 -   BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                       Document 74             Filed 10/26/20           Page 30 of 31



             1                           Defendants’ Remaining Arguments Are Equally Meritless
             2           At page 21 of their Motion, Defendants ineloquently argue that Plaintiffs do not allege

             3   that contracts at issue in their trades were not traded “on or subject to the rules of any registered

             4   entity” in connection with provisions of 7 U.S.C. § 9(1) of the CEA, which make it unlawful for

             5   any person to:

             6           use or employ, in connection with any swap, or a contract of sale of any commodity in
                         interstate commerce, or for future delivery on or subject to the rules of any registered
             7           entity, any manipulative or deceptive device or contrivance, in contravention of such rules
                         and regulations as the Commission shall promulgate by not later than 1 year after July 21,
             8           2010 ... (emphasis added).
             9           This argument is meritless. The requirement “on or subject to the rules of any registered
           10    entity” applies only to contracts for “future delivery” and not to “contract[s] of sale of any
           11    commodity in interstate commerce” or XBTUSD and ETHUSD “swaps” that Plaintiffs traded.
           12    This is especially clear from reading 7 U.S.C. § 13, which states: “[a]ny person to manipulate or
           13    attempt to manipulate the price of any commodity in interstate commerce, or for future delivery
           14    on or subject to the rules of any registered entity, or of any swap…” See also Commodity Futures
           15    Trading Com'n v. McDonnell, 287 F.Supp.3d 213, 228 (E.D.N.Y. 2018) (which did not apply
           16    “registered entity” requirement to the “contract[s] of sale of any commodity in interstate
           17    commerce” under the same 7 U.S.C. § 9(1)). Thus, XBTUSD “swaps” traded by Plaintiffs are
           18    not subject to the registered entity requirement. Accordingly, Defendants’ argument is meritless.
           19
                                                                              Conclusion6
           20            For all the foregoing reasons, the Defendants’ Motion to Dismiss must be denied in its
           21    entirety. In addition, in view of the Ninth Circuit's clear direction and Rule 15(a)'s mandate that
           22    leave to amend be freely given, Plaintiffs respectfully request a leave to amend the Complaint.
           23    Foman v. Davis, 371 U.S. 178, 182 (1962). Additionally, Plaintiffs respectfully request the Court
           24    to issue an Order to Show Cause why Defendants should not be sanctioned for their bad faith
           25    litigation conduct and specifically their repeated attempts to mislead and confuse Judge Orrick.
           26
                 6
           27      Plaintiffs also oppose all the remaining Defendants’ arguments including those related to the
                 state causes of action and reserve the right to cite any appropriate supporting authority during the
           28    oral argument on the Motion.
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 25 -    BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
                 Case 3:20-cv-03345-WHO                      Document 74             Filed 10/26/20                Page 31 of 31



             1
                 Dated: October 26, 2020                                                  Respectfully submitted,
             2
                                                                                          By:        /s/ Pavel I. Pogodin
             3                                                                                       Pavel I. Pogodin
             4                                                                            CONSENSUS LAW
                                                                                          Pavel I. Pogodin, Ph.D., Esq.
             5                                                                            5245 Ave Isla Verde
             6                                                                            Suite 302
                                                                                          Carolina, PR 00979
             7                                                                            United States of America
                                                                                          Telephone: (650) 469-3750
             8                                                                            Facsimile: (650) 472-8961
                                                                                          Email: pp@consensuslaw.io
             9                                                                            Attorneys for Plaintiffs BMA LLC,
           10                                                                             Yaroslav Kolchin and Vitaly Dubinin

           11
           12
           13
           14
           15
           16
           17
           18
           19
           20

           21
           22
           23
           24
           25
           26
           27
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS           PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS.   - 26 -         BMA LLC ET AL. V. HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
